
16 N.Y.2d 1021 (1965)
In the Matter of Shirley Brown, Appellant,
v.
Board of Education of the City of New York, Respondent.
Court of Appeals of the State of New York.
Argued October 19, 1965.
Decided November 24, 1965.
Henry C. Woicik for appellant.
Leo A. Larkin, Corporation Counsel (Eugene M. Kaufman, Seymour B. Quel and Joseph M. Callahan, Jr., of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, SCILEPPI and BERGAN.
Order affirmed, without costs. Under subdivision 7a of section 106 of the by-laws of the Board of Education of the City of New York, petitioner-appellant may at any time apply to the medical bureau of the Board of Education and the Superintendent of Schools to terminate her inactive status and, in event of an adverse decision, may review it in an article 78 proceeding.
